Case 1:17-cv-20848-DPG Document 46-17 Entered on FLSD Docket 04/05/2017 Page 1 of 17
Case 1:17-cv-20848-DPG Document 46-17 Entered on FLSD Docket 04/05/2017 Page 2 of 17
Case 1:17-cv-20848-DPG Document 46-17 Entered on FLSD Docket 04/05/2017 Page 3 of 17
Case 1:17-cv-20848-DPG Document 46-17 Entered on FLSD Docket 04/05/2017 Page 4 of 17
Case 1:17-cv-20848-DPG Document 46-17 Entered on FLSD Docket 04/05/2017 Page 5 of 17
Case 1:17-cv-20848-DPG Document 46-17 Entered on FLSD Docket 04/05/2017 Page 6 of 17
Case 1:17-cv-20848-DPG Document 46-17 Entered on FLSD Docket 04/05/2017 Page 7 of 17
Case 1:17-cv-20848-DPG Document 46-17 Entered on FLSD Docket 04/05/2017 Page 8 of 17
Case 1:17-cv-20848-DPG Document 46-17 Entered on FLSD Docket 04/05/2017 Page 9 of 17
Case 1:17-cv-20848-DPG Document 46-17 Entered on FLSD Docket 04/05/2017 Page 10 of
                                      17
Case 1:17-cv-20848-DPG Document 46-17 Entered on FLSD Docket 04/05/2017 Page 11 of
                                      17
Case 1:17-cv-20848-DPG Document 46-17 Entered on FLSD Docket 04/05/2017 Page 12 of
                                      17
Case 1:17-cv-20848-DPG Document 46-17 Entered on FLSD Docket 04/05/2017 Page 13 of
                                      17
Case 1:17-cv-20848-DPG Document 46-17 Entered on FLSD Docket 04/05/2017 Page 14 of
                                      17
Case 1:17-cv-20848-DPG Document 46-17 Entered on FLSD Docket 04/05/2017 Page 15 of
                                      17
Case 1:17-cv-20848-DPG Document 46-17 Entered on FLSD Docket 04/05/2017 Page 16 of
                                      17
Case 1:17-cv-20848-DPG Document 46-17 Entered on FLSD Docket 04/05/2017 Page 17 of
                                      17
